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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

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In re: Chapter 11
E.S. BANKEST, L.C., Case No. 04-17602-BKC-AJC
Debtor. =D
cS aa | “
LEWIS B. FREEMAN, Responsible Officer x = =5 a Ki
for the Reorganized Debtor E.S. Bankest, L.C., 2% ~ = l ~~
a Florida limited liability corporation, nz Pog rm
a Q@ 3°
Plaintiff, © _ =
v. Adv. Pro. No. 06-1220-BKC-AJC-Ag Se
an “<

BDO SEIDMAN, LLP, BDO INTERNATIONAL
B.V., SANDOR LENNER and KEITH
ELLENBERG

Defendants.
/

MOTION OF DEFENDANTS BDO SEIDMAN, LLP AND
SANDOR LENNER TO DISMISS ADVERSARY COMPLAINT

Defendants BDO Seidman, LLP (“BDO”) and Sandor Lenner (together, the “BDO
Seidman Defendants”), hereby move, pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal
Rules of Civil Procedure, as incorporated into Rule 7012 of the Federal Rules of Bankruptcy
Procedure, and to the Private Securities Litigation Reform Act (15 U.S.C. § 78u-4, et seq.)
(“PSLRA”), to dismiss the Adversary Complaint of Lewis B. Freeman, Responsible Officer (the
“Responsible Officer”) for the Reorganized Debtor E.S. Bankest, L.C. (“Bankest” or the

“Debtor”). For the reasons stated below, the Complaint against the BDO Defendants should be

dismissed in its entirety.

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PRELIMINARY STATEMENT

This Adversary Proceeding arises from a conspiracy and pervasive fraud involving much
of the Debtor’s management and its principal clients. Prior to August, 2003, the Debtor
purportedly engaged in the business of factoring accounts receivable. (Adv. Comp. § 17). For
most of its existence, the Debtor was 50% owned by Espirito Santo Bank (“Espirito Santo”) and
50% owned by Bankest Capital Corporation (“BCC”). (dad. 4 16). Espirito Santo was also
charged with soliciting Espirito Santo’s banking customers to purchase the Debtor’s debentures.
(/d. § 19). The Responsible Officer contends that the pervasive fraud commenced at the very
beginning of the Debtor’s creation as a separate entity. (See id. ] 2, 22).

A main purpose of the fraud and conspiracy was to conceal its existence from, among
others, the BDO Seidman Defendants. The BDO Seidman Defendants were the Debtor’s outside
auditors. (Adv. Comp. § 1). Between 1999 and 2003, the BDO Seidman Defendants conducted
audits and tests of the Debtor’s year-end financial statements to determine whether they could
provide reasonable assurance that the financial statements were not materially misstated. (Adv.
Comp. { 108).

Because of the pervasive fraud, BDO did not detect during its audits that much of the
Debtor’s accounts receivable were fictitious. Purchasers of the Debtor’s debentures and a lender,
as well as their collateral agent Banco Espirito Santo International Ltd. (“BESIL”), are currently
pursuing a malpractice claim against BDO in Florida State Court seeking $170 million in
purported damages relating to the debentures purchased and loans issued to the Debtor (the
‘Florida State Action”). Trial of the Florida State Action has been ordered to commence in

September, 2006 to enable BDO to complete its fact and expert discovery.

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After years of threats, this Adversary Proceeding was filed on the heels of the Florida
State Court’s trial setting order, and will require BDO to engage in discovery and relevant
motion practice at the same time it is preparing for trial in the Florida State Action. By this
Adversary Proceeding, the Debtor, through its Responsible Officer seeks to recover the same
$170 million sought by BESIL in the Florida State Action—namely, monies provided to the
Debtor by debenture purchasers and a lender that remain unpaid.

The Adversary Complaint asserts three claims against the BDO Seidman Defendants: (1)
professional malpractice (Count I); (2) aiding and abetting breach of fiduciary duty (Count IV);
and (3) violation of federal securities laws under 15 U.S.C. § 78j(b) and SEC Rule 10b-5(b)
(Count V).'! The only purported injury to which the Responsible Officer points is the nascent
theory of “deepening insolvency” of the Debtor relating to the $170 million debt it purportedly
incurred. (Adv. Comp. § 22).

As demonstrated below, the Adversary Complaint should be dismissed in its entirety. In
the first instance, the Responsible Officer lacks standing because he is unable to demonstrate that
the Debtor suffered “injury in fact” under the case and controversy requirements of the United
States Constitution. Indeed, the injury to the Debtor alleged on the face of the Adversary
Complaint is illusory because (1) the Debtor served as a conduit for theft by certain of its
management, and (2) the Debtor was an illegitimate and irreparable entity from its creation, and
therefore its insolvency could not have been deepened by any action or omission by the BDO
Seidman Defendants.

Separate from the Responsible Officer’s standing, the Adversary Proceeding should be

also dismissed because the Court lacks subject matter jurisdiction. The Adversary Complaint

 

' The Adversary Complaint asserts two additional claims against defendant BDO International B.V. for
vicarious liability (Count II), and for violations of Florida’s Deceptive and Unfair Trade Practices Act, Fla. Stat. §§
501.210 et seg. (Count IT).

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asserting purported damages from a pre-petition relationship between BDO and the Debtor was
filed only after the Debtor’s Plan was confirmed. This Adversary Proceeding is decidedly not
within the Court’s core bankruptcy jurisdiction. Moreover, as a result of Plan confirmation, the
Court’s subject matter jurisdiction over matters “related” to the Debtor’s chapter 11 case has
been curtailed as a matter of law, and limited to matters where there is a close nexus to the
bankruptcy plan or proceeding, as when a matter affects the interpretation, implementation,
consummation, execution, or administration of a confirmed plan. This Adversary Proceeding
has nothing to do with the Debtor’s Plan.

Finally, the Court should dismiss the purported federal securities claim (Count V)
because the Adversary Complaint fails to meet the heightened pleading standard for such claims
mandated by the PSLRA, 15 U.S.C. 78u-4, et seg. In particular, the Adversary Complaint fails
to allege with the requisite specificity that the BDO Seidman Defendants conducted their audits
with fraudulent intent in connection with the sale of the Debtor’s debenture notes. And in any
event, the injury alleged in the Adversary Complaint arising from the Debtor’s placement of
debenture notes and the subsequent theft of the proceeds of those notes is not remediable under
the federal securities laws.

FACTUAL BACKGROUND

1. The facts relevant to this motion to dismiss are based upon facts asserted in the
Adversary Complaint and facts over which the Court may take judicial notice. The facts are,
therefore, presumed true for purposes of this motion only.

2. As alleged in the Adversary Complaint, between 1998 and 2003 the Debtor
purported to be engaged in the business of factoring accounts receivable. (Adv. Comp. {J 16-

17). The Debtor raised money that was earmarked to be used to purchase accounts receivable by

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issuing debentures, which it solicited and sold through Espirito Santo as placement agent. (/d. J
19). The Debtor also borrowed money through a bank line of credit. (dd. { 20). Despite owning
50% of the Debtor, appointing 50% of its managers, and being in exclusive control over the
placement of the Debtor’s debenture notes, Espirito Santo somehow “missed” the fact that its
subsidiary was being used as a conduit for a massive fraud. (Id. {{] 16, 18, 19).

3. Indeed, the Adversary Complaint alleges that, from inception, virtually all of the
Debtor’s business was fictitious and designed to steal money from lenders and debenture
purchasers through the Debtor. The Adversary Complaint contends that during the Debtor’s five
years of existence “virtually all” of the $1 billion in receivables posted as collateral for money
raised “did not exist” and were “fake”. (Adv. Comp. {ff 2, 4, 27, 39, 45, 46, 54, 57, 109).
During the same period, “[t]he Capital Officers used a series of techniques to create false
financials reflecting nonexistent accounts receivables.” (Adv. Comp. § 23). The money raised
using the “fake” receivables was thereafter “funneled” out of the Debtor to the Capital Officers
and others. (Adv. Comp. { 87).

4. The BDO Seidman Defendants were the pre-petition Debtor’s outside auditors.
Pursuant to their engagement agreement with the pre-petition Debtor, the BDO Seidman
Defendants were charged with testing the Debtor’s year-end financial statements to obtain
“reasonable assurance” that the “financial statements are free of material misstatement,” and to
determine if they “present fairly, in all material respects, the financial position of E.S. Bankest . .
. in conformity with generally accepted accounting principles.” (Adv. Comp. § 108).

5. In or about September, 2003, the Ponzi scheme came to an end after the Debtor
defaulted on the outstanding debenture notes and loans. Ultimately, the Capital Officers and

certain of the Debtor’s clients pled guilty or have been indicted for the pervasive fraud. (Adv.

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Comp. { 56). Moreover, BESIL commenced an action against Bankest, the Capital Officers, and
others in the United States District Court for the Southern District of Florida to recover on the
outstanding debt, and for the fraud.

6. On June 9, 2004, the Debtor and BESIL entered into a Consent Judgment to
resolve claims relating to money owed under the debentures and loans, as well as to resolve
claims BESIL asserted against the Debtor for fraud. In the Consent Judgment, the parties agreed
that the Debtor (and certain affiliates) “were used to fraudulently induce BESIL and its affiliates
to extend $160,000,000 to Bankest, and were instrumentalities in furtherance of the conspiracy to
defraud BESIL and its affiliates.” (Consent Judgment at 6).

7. On August 9, 2004, the Debtor, through the Responsible Officer, filed its case
under Chapter 11 of the United States Bankruptcy Code. (Adv. Comp. 8).

8. On December 28, 2004, BDO filed a Proof of Claim asserting claims for fraud,
breach of contract, indemnity, and contribution. BDO also filed challenges to the purported
secured creditor’s lien, a complaint seeking subordination of the purported secured creditor’s
claim, and objections to the proposed Plan of Liquidation.

9. At no time did defendants Lenner, BDO International B.V., or Keith Ellenberg,
file a Proof of Claim or participate in the Debtor’s chapter 11 case. (See Adv. Comp. ¥ 10).

10. On September 14, 2005, the Bankruptcy Court entered an order disallowing and
dismissing BDO’s claim. (C.P. 346).

11. On November 19, 2005, the Bankruptcy Court dismissed BDO’s lien challenge
and subordination complaints. The Bankruptcy Court ruled that because BDO’s Proof of Claim

had been disallowed, BDO no longer had any interest in the Debtor’s chapter 11 case, and held

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that BDO lacked standing. (Adversary Proceeding No. 05-01012-AJC-AP (C.P. 46); Adversary
Proceeding No. 05-01069-AJC-AP (C.P. 20).

12. On December 23, 2005, the Bankruptcy Court prohibited BDO from objecting to
the proposed Plan of Liquidation. The Bankruptcy Court ruled that because its Proof of Claim
had been disallowed, BDO no longer had any interest in the Debtor’s chapter 11 case, and held
BDO lacked standing. (C.P. 522).

13. On December 30, 2005, the Bankruptcy Court confirmed Debtor’s Second
Amended Plan of Liquidation (the “‘Plan”). The Plan created two post-confirmation entities, the
so-called Reorganized Debtor’ and the Liquidation Trust both of which were to be administered
by Lewis B. Freeman. (See Plan, at 27-30, 38-44). Pursuant to the Plan, the Reorganized
Debtor was vested with all pre-petition malpractice and related claims. (See Plan at 41).

14. On January 6, 2006, the Responsible Officer filed a Notice of Effective Date of
the Debtor’s Second Amended Plan of Liquidation, asserting that the Plan had been substantially
consummated (C.P. 542).

15. | Neither the Debtor nor the Responsible Officer filed any claims or counterclaims
against BDO prior to confirmation of the Plan. Rather, the Responsible Officer filed this
Adversary Proceeding on February 23, 2006, in the Bankruptcy Court.

16. Thereafter, on or about March 7, 2006, the Responsible Officer filed an affidavit
attesting that the Plan had been substantially consummated.

17. In the meantime, the purported secured creditor in the Debtor’s chapter 11 case,
Banco Espirito Santo International Limited (“BESIL”), has been prosecuting a malpractice claim

against BDO in the Eleventh Circuit Court for Miami-Dade County, Case No. 04-14009 CA 31

 

* Although the plan uses the definitional term “Reorganized Debtor” that term is a misnomer in this case,
in that there is no operating reorganized debtor, but rather just a liquidating estate.

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(the “BESIL State Action”). The BESIL State Action arises out of the same nucleus of facts as
the present Adversary Proceeding and seeks the same ultimate damages. Indeed, the BESIL
State Action concerns (among other matters) the manner in which BDO conducted its audits of
the Debtor’s annual financial statements, the extent to which BDO’s audits were relied on by
purchasers of the Debtor’s debentures and BESIL, and the extent to which BESIL’s purported
damages were caused by BDO’s actions.

ARGUMENT

I THE ADVERSARY COMPLAINT SHOULD BE DISMISSED
BECAUSE THE RESONSIBLE OFFICER LACKS STANDING

A. The Constitutional Principles Applicable To This Motion

Before the Court may exercise subject matter jurisdiction over the Responsible Officer’s
purported claims, the Responsible Officer must, as a “threshold” matter, establish his standing to
assert those claims. E.F. Hutton & Co v. Hadley, 901 F.2d 979, 983 (11" Cir. 1990). Standing
is a matter of constitutional dimension that requires the responsible officer to establish, pursuant
to the “case or controversy” clause of Article III, that the Debtor “thas suffered an ‘injury in fact,’
that the injury is “fairly traceable’ to the actions of the defendant, and that the injury would likely
be redressed by a favorable decision.” Bennett v. Spear, 520 U.S. 154, 162 (1997); accord
McConnell v. Federal Election Comission, 540 U.S. 93, 225 (2003). In essence, in determining
the constitutional prerequisite of standing, “the question is whether the person whose standing is
challenged is a proper party to request an adjudication of a particular issue and not whether the
issue is justiciable.” Flast v. Cohen, 392 U.S. 83, 99 (1968). The constitutional requirements are
“Srreducible,” and short of each of them being established, the Adversary Complaint must be

dismissed. Hadley, 901 F.2d at 983-84.

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The Responsible Officer must also surmount “prudential considerations” that “restrain”
the Court from exercising jurisdiction. Hadley, 901 F.2d at 984-85. The three considerations
that disqualify the Court from exercising subject matter jurisdiction, even should the Responsible
Officer satisfy the constitutional prerequisites, are “(1) assertion of a third-party’s rights, (2)
allegation of a generalized grievance rather than an injury particular to the litigant, and (3)
assertion of an injury outside the zone of interests of the statute or constitutional provision.”
Hadley, 901 F.2d at 985; see Valley Forge Christian College v. Americans United for Separation
of Church and State, 454 U.S. 464, 474-75 (1982). As demonstrated below, the Responsible
Officer is unable to meet his burden to establish a constitutional basis for standing, or overcome
the prudential limitations mandated by the Supreme Court.

B. The Responsible Officer Is Unable To Demonstrate “Injury
In Fact” Because The Alleged Injury To The Debtor Is Illusory

1. The Injury Alleged Is Illusory Because
The Debtor Served As A Conduit For Theft

A purported injury that is illusory is not an injury at all for purposes of establishing an
“Injury in fact” sufficient to support standing. See McConnell v. Federal Election Comission,
540 U.S. 93, 227 (2003) (the injury “must be an invasion of a concrete and particularized legally
protected interest’). In the context of a company that incurs increasing debt that allegedly
deepens its insolvency—the purported basis for recovery in all of the Responsible Officer’s
purported claims here—the law precludes a finding of “injury in fact” sufficient for standing
where, as here, the company’s “primary existence” was to enable money raised from creditors to
be channeled out of the company. See O’Halloran y. First Union National Bank, 350 F.3d 1197,
1202-03 (11™ Cir. 2003) (company “cannot be said to have suffered injury” when it was used to

raise money fraudulently to benefit its principals). In such a circumstance, the company is not

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injured by a prolonged life; the company’s primary existence as “conduit” or “vehicle” through
which proceeds from fraudulently obtained loans flowed injures the duped lenders alone. S/PC
v. Capital City Bank (In re Meridian Asset Management, Inc.), 296 B.R. 243, 257 (Bankr. N.D.
Fla. 2003); Feltman vy. Prudential Bache Securities, 122 B.R. 466, 473-74 (S.D. Fla. 1990).

For example, the trustee in Feltman commenced an action against an accounting firm
(among others) for negligence and breach of fiduciary duty arising from an alleged “Ponzi”
scheme. The debtor companies purportedly engaged in financial planning services, but after
raising money from creditors, the companies’ principal withdrew the money raised for his own
use. The trustee asserted that through the defendants’ actions, the debtors were injured by
“artificially extended” lives. 122 B.R. at 473.

In dismissing the trustee’s adversary complaint, the District Court acknowledged that “‘an
‘artificial and fraudulently prolonged life. . .and. . .consequent dissipation of assets’ constitutes a
recognized injury for which a corporation can sue under certain conditions.” Feltman, 122 B.R.
at 473, quoting Schact v. Brown, 711 F.2d 1343 (7" Cir. 1983) (emphasis added). The court
ruled, however, that the debtor corporations “‘were not injured by their prolonged life” because
they “were essentially only conduits for stolen money,” and therefore “any injury to the debtors
in this case must be substantially coterminous with the injury to the defrauded creditors.”
Feltman, 122 B.R. at 473. As the court made clear, the debtors’ purported injury was “illusory”
and the trustee lacked standing because the money the debtors’ principal “stole from the debtor
corporations, the debtors had stolen from the creditors.” Jd. at 474. Thus, because the
corporations were not injured by their prolonged life, the trustee as representative of the debtor

corporations had no standing to sue. /d. at 473.

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On the same grounds, the court in Meridian also dismissed the trustee’s claim for lack of
standing. In Meridian, the trustee alleged that the investment company debtor raised money
from creditors purportedly to engage in private investing. The money raised was instead
funneled through the debtor’s bank accounts to, and stolen by, the company’s management.
Relying on O'Halloran and Feltman, the court ruled that any “alleged injury” the company
suffered was “illusory,” in that the company and its accounts were used “to mislead customers
and as a vehicle to channel money” with little or no legitimate business to injure. 296 B.R. at
252. Again, because the corporations were not injured, including by their prolonged life, the
trustee as representative of the debtor corporations had no standing to sue. Jd.

Assuming all the “facts” set forth in the Adversary Complaint to be true, the Debtor’s
purported injury is illusory because its “primary existence” was to enable money raised from
creditors to be channeled out of the company. O'Halloran, 350 F.3d at 1202-03. As with
allegations in Feltman and Meridian requiring dismissal, the Adversary Complaint asserts that
the Debtor was a fraudulent entity utilized by the Capital Officers, and other indicted and
convicted co-conspirators, to steal money from lenders and debenture purchasers in a scheme
similar to a Ponzi scheme. The Adversary Complaint alleges that the Debtor was a factoring
company managed “day-to-day” by the Capital Officers “that was to earn money through
factoring fees, interest and the spread between the receivables’ invoiced face amount and the
discount price paid for receivables.” (Adv. Comp. {/f 17-18 [emphasis added]).? The Debtor

funded its purchases of receivables by borrowing money and issuing “debenture notes . . .

 

> That the Responsible Party did not label the Debtor a “sham” in the Adversary Complaint is
immaterial. O’Halloran, 350 F.3d at 1202. The issue is whether from the face of the Adversary
Complaint, the Debtor was used to mislead lenders to raise and then channel money to the Capital
Officers and others. Meridian, 296 B.R. at 252. In O’Halloran, the Eleventh Circuit explained that
complaint language that indicates the trustee assigns fiction to the debtor’s legitimate business or
operations is sufficient. 350 F.3d at 1202-03.

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whereby money was supposed to be backed by receivables.” (Id. JJ 19-20 [emphasis added]).
The Adversary Complaint alleges that ultimately, the Debtor raised $170 million from lenders
and debenture purchasers that remain unpaid and uncollateralized.

The Adversary Complaint alleges that, from inception, virtually all of the Debtor’s
business was fictitious and designed to steal money from lenders and debenture purchasers
through the Debtor. The Adversary Complaint contends that during its five years of existence
“virtually all” of the $1 billion in receivables posted as collateral for money raised “did not exist”
and were “fake”. (Adv. Comp. {f 2, 4, 27, 39, 45, 46, 54, 57, 109). The Adversary Complaint
concludes that BDO’s actions in not detecting the fictitious receivables resulted in the Debtor
taking “debts exceeding $170 million it could not pay” and “artificially . . . prolong[ing] its
existence.” (Adv. Comp. { 7).

As in Feltman and Meridian, the Debtor was unable to repay investors because the
money raised was thereafter “funneled” out of the Debtor to the Capital Officers and others.
(Adv. Comp. § 87). The Capital Officers and certain of the Debtor’s clients “have pleaded guilty
or have been indicted for defrauding Bankest.” (Adv. Comp. ¥ 56).* The fraudulent raising of
money, and subsequent theft by the Capital Officers, according to the Adversary Complaint, “did
not benefit Bankest in either the short term or long term.” (/d.).

Any question concerning whether the debtor was used as a vehicle to funnel money
raised from debenture purchasers and lenders to the Capital Officers is put to rest by the Consent
Judgment entered among the Debtor and BESIL.° In the Consent Judgment, over which the

Court may take judicial notice, the Debtor conceded that it is liable to BESIL, as collateral agent

 

“Tn fact, the indictments and plea allocutions state that these individuals were charged and (some)
plead guilty for defrauding lenders and BDO. See Exhibits “E” and “F” attached to the BSO Seidman
Defendants’ Motion to Take Judicial Notice.

> The Consent Judgment is attached as Exhibit “D” to the Motion to Take Judicial Notice.

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for the debenture holders, for fraud and fraudulent inducement in the amount of $160,000,000.
(Consent Judgment, f§ 1, 3, 4). The Consent Judgment further provides that the Debtor (and
certain affiliates) ““were used to fraudulently induce BESIL and its affiliates to extend
$160,000,000 to Bankest, and were instrumentalities in furtherance of the conspiracy to defraud
BESIL and its affiliates.” (Consent Judgment, { 6). Thus, the Debtor and BESIL have readily
conceded the point: The Debtor was a “conduit” used to defraud BESIL and funnel money to the
Capital Officers.

In short, the fraudulent scheme detailed in the Adversary Complaint was designed to
benefit only the Capital Officers that managed the Debtor’s so-called “day-to-day” business.
The Capital Defendants caused the Debtor to raise money based upon collateral that was “fake”
and “did not exist” in order to allow them to “funnel” the money raised for their own benefit.
Under these circumstances, and as the court in Feltman concluded, the Debtor was “not injured
by [its] prolonged life” because it was “essentially only [a] conduit[] for stolen money.”
Feltman, 122 B.R. at 473. The Responsible Officer, accordingly, lacks standing because any
purported injury to the Debtor is “illusory” and “must be substantially coterminous with the
injury to the defrauded creditors” currently being litigated by those creditors in Florida State
Court. 122 B.R. at 473.

For this reason alone, the Adversary Complaint should be dismissed.

2. The Alleged Injury Is Illusory Because
The Debtor Was Irreparable From The Start

Assuming for purposes of standing that there is even a cognizable claim for deepening
insolvency damages in Florida, the District Court in Feltman explained that “an ‘artificial and
fraudulently prolonged life. . .and. . .consequent dissipation of assets’ constitutes a recognized

injury for which a corporation can sue under certain conditions.” Feltman, 122 B.R. at 473,

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quoting Schact v. Brown, 711 F.2d 1343 (7th cir. 1983) (emphasis added). The Adversary
Complaint does not allege a sustainable cause of action (the federal securities fraud claim should
be dismissed for the reasons set forth below) alleging that BDO engaged in fraud to prolong the
Debtor’s life. For this reason alone, the state common law claims in the Adversary Complaint
should be dismissed. See Stanziale v. Pepper Hamilton, LLP (In re Student Finance Corp.), 335
B.R. 539, 548 (D. Del. 2005) (“In order to state a claim for deepening insolvency . . . the trustee
of the bankrupt debtor must allege that the defendant defrauded the debtor.’’).
More importantly, in Tabas v. Greenleaf Ventures, Inc. (In re Flagship Healthcare, Inc.),

269 B.R. 721, 728 (Bankr. S.D. Fla. 2001), the Bankruptcy Court explained the second manner
in which so-called deepening insolvency injury is illusory precluding standing: When a
company that incurs the increasing debt deepening its insolvency was illegitimate, insolvent, and
could never be rehabilitated from its inception. The Bankruptcy Court explained that deepening
insolvency injury “may” occur when the “increased debt and eventual insolvency . . .
significantly contributed to the Debtor’s financial death.” Jd. An injury a company may suffer
from the additional debt created “‘operational limitations which hurt a corporation’s ability to
run its business in a profitable manner,’” as “it is not uncommon for a corporation to revitalize
itself and work out financial problems no matter how dire they appear.” Jd. The Bankruptcy
Court likened such a company as:

akin to a boxer with one black eye who, despite being injured,

might still persevere and win the fight. If that boxer (the debtor)

winds up losing the fight and landing in the hospital (bankruptcy

court), a doctor (judge) might find that it was the additional

injuries (deepening insolvency) which put him there”

Id. at n.4. To elaborate on the metaphor, an honest company capable of rehabilitation always has

a “puncher’s chance” of winning the fight and pulling itself out of insolvency.

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In contrast is the instance in which the company has already suffered “financial death” by
fraud and illegitimacy when the alleged deepened insolvency occurs. Flagship Healthcare, 269
B.R. at 728. In that instance, the increased debt cannot “significantly contribute[] to the Debtor’s
financial death,” and therefore cannot cause the requisite “injury in fact.” Jd. As the Bankruptcy
Court explained, the debtor in that situation is “like an individual who sits in the rain all day and
simply cannot get more wet.” Jd. at n.4

Assuming the allegations set forth in the Adversary Complaint true for purposes of this
motion, the Debtor was drenched for its entire existence. Indeed, at no point in the Adversary
Complaint does the Responsible Officer assert any assets that could be, or were, dissipated as a
result of the alleged deepened insolvency, of course separate from the money the Debtor raised
from debenture purchasers and lenders. That money, however, never became real assets of the
Debtor to dissipate, for as the Responsible Officer alleges, the money raised based upon fraud
“did not benefit Bankest in either the short term or long term.” (Adv. Comp. § 56).

Moreover, and as demonstrated above, the Adversary Complaint asserts that the Debtor
was a fraudulent entity from its inception. Among other things, and according to the
Responsible Officer, during the Debtor’s five years in existence: (1) “virtually all” of the $1
billion in receivables posted as collateral for money raised “did not exist” and were “fake” (Adv.
Comp. ff 2, 4, 27, 39, 45, 46, 54, 57, 109); (2) “[t]he Capital Officers used a series of techniques
to create false financials reflecting nonexistent accounts receivables” (Adv. Comp. § 23); (3) the
money raised to purchase receivables was, in fact, “funneled” out of the Debtor to the Capital
Officers and others (Adv. Comp. § 87); (4) the Capital Officers and certain of the Debtor’s

clients “have pleaded guilty or have been indicted for defrauding Bankest.” (Adv. Comp. § 56).

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It is therefore unsurprising that at no point in the lengthy Adversary Complaint does the
Responsible Officer allege that the Debtor was ever capable of rehabilitation.

In short, the Debtor was the individual in the rain that simply could not get any more wet.
Under these circumstances, any purported injury to the Debtor is illusory. The injury, if any, was
suffered by the debenture purchasers and lenders whose claims are scheduled for trial in Florida
State Court in September, 2006. The Responsible Officer, to the contrary, lacks standing. For
this additional reason, the Adversary Complaint should be dismissed.

C. The Responsible Officer Lacks Standing
Because His Claims Assert Injury To BESIL

At its core, and read in its entire context, the Responsible Officer seeks to recover for
injuries to BESIL, not the Debtor. Indeed, the Adversary Complaint makes it clear that it alleges
claims “seek[ing] to recover the losses proximately caused by BDO for the legitimate creditors
of Bankest.” (Adv. Comp. § 6). The Responsible Officer, accordingly, is unable to surmount the
“prudential considerations” that “restrain” the Court from exercising jurisdiction. Hadley, 901
F.2d at 984-85. In particular, the Responsible Officer is improperly attempting to “‘assert[] third-
party’s rights.” Hadley, 901 F.2d at 985. For this separate reason, the Responsible Officer lacks
standing to pursue this Adversary Proceeding.

In Caplin v. Marine Midland Grace Trust Co., 406 U.S. 416, 434 (1972), the United
States Supreme Court held that a trustee lacks standing to assert claims for a group of a debtor’s
debenture holders, which were creditors of the debtor’s estate. In reaching that ruling, the Court
pointed to three prudential concerns in permitting a trustee to sue on behalf of debenture holders:
(1) nothing in the bankruptcy code authorized a trustee “to assume the responsibility of suing
third parties on behalf of debenture holders” or to “collect money not owed to the estate”; (2) the

debtor and the defendant were in pari delicto with respect to the creditors’ claims; and (3)

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allowing the trustee to sue on behalf of debenture holders would complicate litigation: a trustee
action “may be inconsistent with any independent actions that they might bring themselves.”
406 USS. at 428-32; accord Hadley, 901 F.2d at 986 (dismissing trustee claim “[w]e conclude
that the Caplin concerns are valid in this case”); Flagship Healthcare, 269 B.R. at 727 (the
trustee lacks standing “if he is only asserting a claim based upon alleged damages” to creditors
that relied upon an accountant’s audit report).

The purported injury upon which the Adversary Complaint focuses is that suffered by
debenture purchasers and lenders who, the Adversary Complaint alleges, provided the debtor
money purportedly “in reliance upon the integrity of BDO’s audited financials.” (Adv. Comp. Jf
19-20, 57). The Adversary Complaint contends that the BDO Seidman Defendants’ audits
“caused Bankest to disseminate materially false and misleading audited financial statements and
results to potential investors and lenders,” and that the full extent of damages sought is for the
Debtor’s failure to repay the lenders. (/d. 58, 59, 88). Even the Responsible Officer’s attempt
to cast his claims as based upon a direct injury to the Debtor relates to selling debentures and
borrowing from lenders. (Adv. Comp. ff 22, 57). In short, the focus of the Adversary
Complaint is to recover damages on behalf of the real party in interest, BESIL. As the Supreme
Court made clear in Caplin, however, nothing in the bankruptcy code authorizes a trustee “to
assume the responsibility of suing third parties on behalf of debenture holders” or to “collect
money not owed to the estate.” 406 U.S. at 428-32

Nor may the Responsible Officer end run the prudential limitations upon standing set
forth in Caplin by asserting that his claims seek to recover for all “legitimate creditors of
Bankest.” (Adv. Comp. § 7). Although the Eleventh Circuit has yet to consider the issue, the

lower Courts in this Circuit have declared that a trustee is without standing to assert claims on

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behalf of all general creditors of a debtor. See, e.g., Feltman, 122 B.R. at 473 (“bankruptcy
trustee [does] not have standing to assert claims of creditors”); In re Flagship Healthcare, 269
B.R. at 727 n.3 (“a trustee has no standing to assert a general claim on behalf of creditors”).

Vesting the Responsible Officer with standing to sue on behalf of debenture holders
would also complicate the overall litigation, as this Adversary Proceeding “may be inconsistent
with any independent actions that [creditors] might bring themselves.” Caplin, 406 U.S. at 428-
32; accord Hadley, 901 F.2d at 986. Duplicative litigation in which BESIL is the real party in
interest is not a mere risk in this case; it is a certainty. BESIL is currently pursuing a negligence
claim against BDO in Florida State Court seeking to recover the same $170 million based upon
essentially the same allegations as those asserted in the Adversary Complaint. (Compare Adv.
Comp. with State Complaint). For this separate reason, the Responsible Officer is unable to
surmount the “prudential considerations” that “restrain” the Court from exercising jurisdiction—
he is attempting to recover the same damages on behalf of a single creditor that the same creditor
is seeking for itself in Florida State Court. Hadley, 901 F.2d at 984-85.

In sum, the Responsible Officer lacks standing to pursue the purported claims set forth in
the Adversary Proceeding because he is unable to overcome the prudential restraints upon this
Court’s jurisdiction. Accordingly, the Adversary Complaint should be dismissed.

II. THE ADVERSARY COMPLAINT SHOULD BE DISMISSED
BECAUSE THE COURT LACKS SUBJECT MATTER JURISDICTION

A. The Adversary Proceeding Is Non-Core

Section 1334(b) of the Judicial Code provides that “the district courts shall have original
but not exclusive jurisdiction of all civil proceedings arising under title 11, or arising in or
related to cases under title 11.” 28 U.S.C. § 1334. Section 1334(b) enables the court to exercise

subject matter jurisdiction in three instances: (1) proceedings that “arise under title 11”; (2)

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proceedings that “arise in cases under title 11”; and (3) proceedings “related to cases under title
11.” This Court’s jurisdiction is derivative of and dependent upon these three bases. Cont'l Nat'l
Bank v. Sanchez (In re Toledo), 170 F.3d 1340, 1349 (11th Cir. 1999).

Pursuant to 28 U.S.C. § 157, “core” proceedings are the equivalent to those “arising
under title 11 or arising in a case under title 11,” while “non-core” proceedings are synonymous
with those “otherwise related” to the bankruptcy estate. Toledo, 170 F.3d at 1349. A proceeding
“arises under” title 11 when it “invokes a cause of action, or substantive right, created by a
specific section of the Bankruptcy Code.” Jd. A proceeding “arises in” title 11 when it involves
“administrative matters unique to the management of a bankruptcy case.” Jd. As the Eleventh
Circuit declared:

[ijf the proceeding involves a right created by the federal
bankruptcy law, it is a core proceeding; for example, an action by
the trustee to avoid a preference. If the proceeding is one that
would arise only in bankruptcy, it is also a core proceeding; for
example, the filing of a proof of claim or an objection to the
discharge of a particular debt. Jf the proceeding does not invoke a
substantial right created by the federal bankruptcy law and is one
that could exist outside of bankruptcy it is not a core proceeding.
Id. at 1348 (emphasis added); Wood v. Wood (In re Wood), 825 F.2d 90, 97 (Sth Cir. 1987).

Moreover, in limiting “core” proceedings to those that are unique to, or uniquely affected
by, the Bankruptcy Code, a bankruptcy case or directly affect a core bankruptcy function, the
Court should bear in mind its responsibility to construe 28 U.S.C. § 157(b) so as to avoid any
doubt of its constitutionality. See First Florida Builders Corp. v. Employers Ins. Of Wausau (In
re Shaffer & Miller Ind., Inc.), 66 B.R. 578, 581 (S.D. Fla. 1986). To do otherwise “would
seriously ignore the constitutional defects [Northern Pipeline Co. v. Marathon Pipe Line Co. 458

U.S. 50 (1982)] sought to correct.” Jd.; see Control Center, L.L.C. v. Lauer, 288 B.R. 269, 276

(M.D. Fla. 2002). Accordingly, even if success on the merits of the Adversary Proceeding would

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ultimately enhance creditor distributions, this possibility alone is insufficient to elevate otherwise
non-core causes of action into a core proceeding “affecting the adjustment of the debtor-creditor
relationship.” Jd.

None of the claims asserted in the Adversary Complaint “arise under’ or “arise in” title
11. The Adversary Complaint asserts state law claims for malpractice, vicarious liability
(against defendant BDO International, B.V.), Florida Unfair Trade Practice under Florida
Statutes § 501.210, et seq. (against defendant BDO International, B.V.), and aiding and abetting
breach of fiduciary duty. (Adv. Comp. §] 77-106). The Adversary Complaint also asserts a
federal securities fraud claim. (/d. {| 107-116). All of these purported claims existed pre-
petition and, had there been no bankruptcy, this action could have proceeded outside of the
Bankruptcy Court. In fact, The BESIL State Action is pending and asserts claims that are
virtually identical to those asserted in this Adversary Proceeding. Accordingly, this Adversary
Proceeding involves claims falling outside the core jurisdiction of the Bankruptcy Court. E.g.,
George W. Stevenson v. J. C. Bradford & Company (In re Cannon), 277 F.3d 838, 846 (6th Cir.
2002) (violations of federal commodities laws, breach of fiduciary duties, fraud, state consumer
protection laws, and failure to supervise are “all non-core proceedings under 28 U.S.C. §
157(b)(2)”); In re Insilco Technologies, Inc., 330 B.R. 512, 522 (Bankr. Del. 2005) (deepening
insolvency claim is non-core); Jn re RDM Sports Group, Inc., 260 B.R. 915, 919 (Bankr. N.D.
Ga. 2001) (claim for professional malpractice is non-core).

The only attempt at asserting a basis for this Court’s subject matter jurisdiction is the
Responsible Officer’s conclusion that this proceeding is “core”. (Adv. Comp. § 15). The only
fact to which the Responsible Officer appears to point as a basis for his conclusion is that BDO

filed a Proof of Claim that was litigated and disallowed in the Bankruptcy Court. (/d. ¥ 10).

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Although BDO filed a Proof of Claim, none of the other defendants here filed proofs of claim or
participated in any way in the Debtor’s chapter 11 case. For this reason alone, this Adversary
Proceeding raises no claims arising under or arising in bankruptcy, and is therefore non-core.

Moreover, because BDO’s claim in the Debtor’s chapter 11 case has been resolved
through disallowance, the Adversary Complaint raises issues independent and unrelated to the
claims administration process. As the Supreme Court stated in Langenkamp v. Culp, 498 U.S.
42, 44 (1990), a creditor “triggers the process of ‘allowance and disallowance of claims,” thereby
subjecting itself to the bankruptcy court’s equitable power when the response to the proof of
claim is a claim by the estate to recover a preferential transfer. Accord Granfinanciera, S.A. v.
Nordberg, 492 U.S. 33, 58-59 (1989). In such circumstances, the estate’s action “becomes part
of the claims-allowance process which is triable only in equity. In other words, the creditor’s
claim and the ensuing preference action by the trustee become integral to the restructuring of the
debtor-creditor relationship through the bankruptcy court’s equity jurisdiction.” Langenkamp,
498 U.S. at 44 (emphasis added).

Here, the claims allowance process relating to BDO’s Proof of Claim ended when BDO’s
claim was disallowed back in September, 2005. Because the claims allowance process is no
longer implicated, and BDO’s claims against the Debtor have been fully adjusted, the Adversary
Complaint seeks relief unrelated to any bankruptcy function or administrative matters unique to
the management of the Debtor’s bankruptcy case. Under these circumstances, the Adversary
Proceeding is non-core. See Miramar Resources, Inc. v. Webb (In re Miramar Resources, Inc.),
176 B.R. 45 (Bankr. D. Colo. 1994); In re New York City Shoes, Inc., 122 B.R. 668 (E.D. Pa.

1991).

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Miramar is on point and compels a finding that the Adversary Proceeding here is non-
core. As with BDO, the defendant (an attorney) in Miramar provided pre-petition professional
services to the debtor. After the debtor filed its petition under Chapter 11 of the Bankruptcy
Code, the defendant attorney filed a proof of interest asserting stock ownership in the debtor and
a proof of claim for pre-petition legal services. The defendant attorney’s proof of interest was
ultimately cancelled under the debtor’s plan of reorganization, and its proof of claim was
allowed (and then extinguished under the plan in exchange for certain contractual rights set forth
in the plan). Miramar, 176 B.R. at 47.

Sixty days prior to plan confirmation, the debtor commenced an adversary proceeding
against the defendant attorney seeking damages relating to pre-petition legal malpractice. The
court ruled that although the defendant attorney filed a proof of claim seeking damages that arose
out of the very professional relationship that was the subject of the debtor’s later malpractice
claim, the malpractice claim was “not a core proceeding” because the claims allowance process
had “‘concluded.” As the court explained:

Regardless of whether the claim allowance process is defined

narrowly or broadly, it has a beginning and an ending point. The

triggering of the claim allowance process is the filing of the proof

of claim. The conclusion of the claim allowance process is the

completion of the restructuring of the debtor-creditor relationship

by allowance or disallowance of the claim.
Id. at 54 (emphasis added). Because the claims allowance process “concluded” as to the
defendant attorney’s fees claim—as it similarly concluded as to BDO when its claim was

disallowed—the debtor’s later malpractice claim constituted an “independent lawsuit” that was

non-core. /d.

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The court in New York City Shoes reached the same conclusion. In New York City
Shoes——as in Miramar—the debtor’s accounting firm filed proofs of claim for outstanding
auditing fees. The proofs of claim were waived and disallowed as part of a settlement with the
debtor. 122 BR. at 672. Thereafter, the debtor commenced an adversary proceeding in the
bankruptcy court against the auditor alleging a failure to perform audits in accordance with
generally accepted accounting principles and failure to discover fraudulent sales transactions
engaged in by the debtor’s officers.

In granting the accounting firm’s motion to withdraw the reference of the adversary
proceeding and declaring its right to a jury trial, the district court ruled that the adversary
proceeding was non-core. Indeed, because the debtor’s adversary complaint was filed after the
accounting firm’s proof of claim was “waived and disallowed,” the subsequent malpractice
action against the accounting firm arising out of pre-petition services constituted “a new suit.”
122 B.R. at 672. The court concluded that the subsequent adversary proceeding was
distinguishable from the circumstance in which “the debtor’s claim was responsive to a pending
proof of claim and thereby implicated the allowance and/or disallowance of claims against the
debtor’s estate and the structuring of debtor-creditor relations.” /d. at 673.

The same reasoning applies here and compels a finding that the Responsible Officer’s
Adversary Proceeding is, at best, non-core. As in Miramar and New York Shoes, the
Responsible Officer chose not to file an Adversary Proceeding against BDO until long after
BDO’s Proof of Claim was disallowed, and after plan confirmation. There was no “pending
proof of claim” to which the Responsible Officer’s Adversary Complaint was in response. To

the contrary, the claims allowance procedure relating to BDO’s Proof of Claim came to its

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“ending point” and the present Adversary Proceeding constitutes a “new suit” unrelated to the
core bankruptcy function of adjusting creditor claims.

In short, bankruptcy law plays no role in the claims asserted in the Adversary Complaint,
and therefore the proceeding is, at best, non-core. Accordingly, the court should dismiss the
Adversary Proceeding for lack of subject matter jurisdiction. The appropriate forum for this
action is in a Florida State Court, where the very issues to be resolved in this action are set for
trial in September, 2006.

B. The Adversary Proceeding Is Also Not “Related To” The
Debtor’s Confirmed And Consummated Plan Of Reorganization

The Responsible Officer does not even attempt to assert that this Adversary Proceeding
falls within the Court’s “related to” jurisdiction, and with good reason. The Court lacks “related
to” subject matter jurisdiction because there is an insufficient nexus between the Debtor’s Plan
and the present Adversary Proceeding commenced post-confirmation.

In declaring the boundaries of pre-confirmation, “related to” jurisdiction, the Eleventh
Circuit explained that Congress vested “limited authority” in bankruptcy courts. Miller vy.
Kemira, Inc. (In re Lemco Gypsum, Inc.), 910 F.2d 784, 789 (11th Cir. 1990). Accordingly, the
Eleventh Circuit adopted the ““Pacor test” for determining the scope of pre-confirmation, “related
to” jurisdiction: Whether “the outcome could alter the debtor’s rights, liabilities, options, or
freedom of action (either positively or negatively) and which in any way impacts upon the
handling and administration of the bankrupt estate.” Lemco Gypsum, 910 F.2d at 789, quoting
Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3rd Cir. 1984).

Consistent with the limitations imposed by Congress, Article III of the United States
Constitution, and Section 157 of the Judicial Code, the court in Lemco Gypsum warned,

however, that “[t]he fact that property was once owned by a bankrupt does not supply federal

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jurisdiction of all future disputes concerning the property.” 910 F.2d at 789; accord Binder v.
Price Waterhouse & Co., LLP (In re Resorts International, Inc.), 372 F.3d 154, 165 (3rd Cir.
2004) (“bankruptcy court jurisdiction ‘must be confined within appropriate limits and does not
extend indefinitely, particularly after the confirmation of a plan and the closing of a case’”),
quoting Donaldson v. Bernstein, 104 F.3d 547, 553 (3rd Cir. 1997). For instance, after a
debtor’s plan is confirmed, “it is impossible for the bankrupt debtor’s estate to be affected by a
post-confirmation dispute because the debtor’s estate ceases to exist once confirmation has
occurred.” Resorts, 372 F.3d at 165. Estate assets are typically vest in a new entity, which in
this instance is the “Reorganized Debtor.” See 11 U.S.C. § 1141(b). (Plan, Article V, pp. 27-
29).

Accordingly, and consistent with the Pacor test and the jurisdictional limitations imposed
by Congress, the Constitution, and the Judicial Code, “related to” jurisdiction is curtailed post-
petition. “Related to” jurisdiction is limited to matters “where there is a close nexus to the
bankruptcy plan or proceeding, as when a matter affects the interpretation, implementation,
consummation, execution, or administration of a confirmed plan ....” Resorts, 372 F.3d at 168-
69 (emphasis added); accord In re Craig’s Stores of Texas, Inc., 266 F.3d 388, 389 (5th Cir
2001) (‘After a debtor's reorganization plan has been confirmed, the debtor’s estate, and thus
bankruptcy jurisdiction, ceases to exist, other than for matters pertaining to the implementation
or execution of the plan. No longer is expansive bankruptcy court jurisdiction required to
facilitate ‘administration’ of the debtor’s estate, for there is no estate left to reorganize.”’)
(citations omitted); Zahn Associates, Inc. v. Leeds Building Products, Inc. (In re Leeds Building
Products, Inc.), 160 B.R. 689, 691 (Bankr. N.D. Ga. 1993) (“Of course, a bankruptcy court does

not lose all jurisdiction once a chapter 11 plan has been confirmed. Nevertheless, its role is

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limited to matters involving the execution, implementation, or interpretation of the plan's
provisions, and to disputes requiring the application of bankruptcy law’).

In Resorts, the Third Circuit held that the bankruptcy court was divested of related to
jurisdiction over post-confirmation claims brought on behalf of a litigation trust against an
accounting firm. The trust asserted professional malpractice and breach of contract relating to
the accounting services provided. In reversing the district court’s determination that the
bankruptcy court had subject matter jurisdiction, the Third Circuit stated:

Resolution of this matter will not require a court to interpret or
construe the Plan or the incorporated Litigation Trust Agreement.
Whether Price Waterhouse was negligent or breached its contract
will not be determined by reference to those documents. There is
no dispute over their intent. The Trustee’s claims are “ordinary”
professional negligence and breach of contract claims that arise
under state common law. Though the Plan and Trust Agreement
provide the context of the case, this bare factual nexus is
insufficient to confer bankruptcy jurisdiction.
Resorts, 372 F.3d at 170 (emphasis added).

This Court is without subject matter jurisdiction here for the identical reasons. The
Adversary Complaint asserts “ordinary,” state-based, common law claims as well as a federal
securities claim, the core of which is the BDO Seidman Defendants’ alleged professional
negligence. None of the alleged claims relate to the bankruptcy laws. None of the claims will
require interpretation or application of the Debtor’s Plan, and reference to the Plan and related
documents will be unnecessary to resolve the claims. Given that the pre-petition claims the
Responsible Officer asserts have no nexus, much less the requisite “close nexus”, to the Debtor’s

Plan, it is not surprising that in the entire 40-page, 116-paragraph Adversary Complaint, the Plan

is never mentioned—not even once! As the Court in Resorts concluded, “[t]hough the Plan...

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provide[s] the context of the case, this bare factual nexus is insufficient to confer bankruptcy
Jurisdiction.” 372 F.3d at 170.

That the Debtor’s Plan purported to retain nonexclusive jurisdiction in the Bankruptcy
Court for certain matters is immaterial. (Plan, Article XIV, pp. 58-59) For as the court in
Resorts confirmed, “jurisdictional retention plans cannot confer jurisdiction greater than that
granted under 28 U.S.C. § 1334 or 28 U.S.C. § 157.” 372 F.3d at 169. That is, “neither the
bankruptcy court nor the parties can write their own jurisdictional ticket,” and where jurisdiction
is otherwise deficient, “the parties cannot create it by agreement even in a plan of
reorganization.” Jd. at 161; In re Insilco Technologies, Inc., 330 B.R. 512, 519 (Bankr. D. Del.
2005); accord In re General Media, Inc., 335 B.R. 66, 74 n.8 (Bankr. S.D.N.Y. 2005) (“the
federal courts are courts of limited jurisdiction, and ‘neither the bankruptcy court nor the parties
can write their own jurisdictional ticket”), quoting Resorts, 372 F.3d at 161; Grimes v. Graue
(In re Haws), 158 B.R. 965, 969 (Bankr. S.D. Tex. 1993) (“Regardless of how that plan
provision may read, a reservation of jurisdiction beyond what Congress has given or what is
necessary to effectuate the debtor's reorganization exceeds the power of the bankruptcy court.”).
As demonstrated above, the Bankruptcy Court lacks subject matter jurisdiction over this
Adversary Proceeding, and any attempt by the Debtor and BESIL to create jurisdiction by
agreement—-an agreement to which BDO was not a party and was denied standing to object—
was contrary to the law.

In sum, this Adversary Proceeding involves alleged pre-petition disputes that are
collateral to the bankruptcy process and the terms of the Debtor’s confirmed and consummated
Plan. There is no “close nexus” between the Plan and this Adversary Proceeding. Therefore, the

Court lacks subject matter jurisdiction and should dismiss the Adversary Complaint.

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If. THE ADVERSARY COMPLAINT FAILS TO STATE
A CLAIM UNDER SECTION 10(b) AND SEC RULE 10b-5(b)

A. The Relevant Pleading Standard

The Adversary Complaint alleges that the BDO Seidman Defendants violated Section
10(b) of the Exchange Act and SEC Rule 10b-5(b). (Adv. Comp., Count V 4 107-16). Before
the Court may sustain the purported securities claim, however, the Responsible Officer is
required to allege (1) a material misrepresentation, (2) scienter, i.e., a wrongful state of mind, (3)
a connection with the purchase or sale of a security (4) reliance or “transaction causation,” (5)
economic loss, and (6) “loss causation,” i.e., a causal connection between the material
misrepresentation and the loss. Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336, 125 S.Ct.
1627, 1631 (2005); Ziemba v. Cascade Intern., Inc., 256 F.3d 1194, 1202 (11th Cir. 2001).

The federal securities claim is subject to the heightened pleading requirements of the
Private Securities Litigation Reform Act (15 U.S.C. § 78u-4(b)) (the “PSLRA”), and Rule 9(b)
of the Federal Rules of Civil Procedure. Ziemba, 256 F.3d at 1202. In particular, the PSLRA
mandates that the Adversary Complaint “state with particularity facts giving rise to a strong
inference” of scienter “with respect to each act or omission alleged.” 15 U.S.C. § 78u-4(b)(2);
Theoharous v. Fong, 256 F.3d 1219, 1225 (11"™ Cir. 2001). Allegations of negligence, gross
negligence, or even inexcusable neglect are insufficient satisfy this standard. Bryant v. Avado
Brands, Inc., 187 F.3d 1271, 1282 & n.18 (11th Cir. 1999). Moreover, the Court should bear in
mind that “[w]hen the claim is brought against an outside auditor,” the “meaning of recklessness
in securities fraud cases is especially stringent.” PR Diamonds, Inc. v. Chandler, 364 F.3d 671,
693 (6th Cir. 2004). Specifically, “[r]ecklessness on the part of an independent auditor entails a
mental state so culpable that it ‘approximate[s] an actual intent to aid in the fraud being

perpetrated by the audited company.’” J/d., quoting Decker v. Massey-Ferguson, Ltd., 681 F.2d

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111, 121 (2d Cir. 1982); accord Reiger v. Price Waterhouse Coopers LLP, 117 F. Supp. 2d
1003, 1008 (S.D. Cal. 2000) (the PSLRA makes it “exceedingly difficult for a securities plaintiff
to plead facts suggesting that an independent accountant acted with the deliberate state of mind
now required to withstand a motion to dismiss”), aff'd. DSAM Global Value Fund v. Altris
Software, Inc., 288 F.3d 385 (9th Cir. 2002).

B. The Adversary Complaint Fails To Meet The
Heightened Pleading Requirements To Allege Scienter

To satisfy his heightened pleading the obligations for alleging scienter under the PSLRA,
the Responsible Officer was required to “allege particular facts giving rise to a strong inference
that the defendant acted ‘in a severely reckless manner.’”” Theoharous, 256 F.3d at 1225,
quoting Bryant, 187 F.3d at 1287. In Bryant, the Eleventh Circuit declared that “[s]evere
recklessness is limited to those highly unreasonable omissions or misrepresentations that involve
not merely simple or even inexcusable negligence, but an extreme departure from the standards
of ordinary care, and that present a danger of misleading buyers or sellers which is either known
to the defendant or is so obvious that the defendant must have been aware of it.” 187 F.3d at
1282 n.18 (emphasis added); Druskin v. Answerthink, Inc., 299 F. Supp. 2d 1307, 1321 (S.D. Fla.
2004). The Responsible Officer attempts to meet his burden of alleging scienter with the
requisite particularity in two ways, both of which fail.

First, the Responsible Officer attempts to allege scienter by referring to the outdated
“motive and opportunity” test—i.e., that the BDO Seidman Defendants had a “motive” to
commit fraud accompanied by an opportunity to do so. (Adv. Comp. 112). Since enactment of
the PSLRA back in 1995, alleging that a securities defendant had a motive and opportunity to
commit fraud is insufficient as a matter of law. As the Eleventh Circuit in Bryant declared,

because “the clear purpose of the [PSLRA] was to curb abusive securities litigation, and because

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we believe that the motive and opportunity analysis is inconsistent with that purpose, we decline
to adopt it.” 187 F.3d at 1286.

The second method by which the Responsible Officer attempts to meet his burden to
allege, with specificity, a “strong inference” of recklessness is to point out the manner in which
the BDO Seidman Defendant’s audits allegedly did not comply with Generally Accepted
Auditing Standards (“GAAS”) and the so-called “red flags” they purportedly overlooked. (Adv.
Comp. { 111). Asserted violations of GAAS standing alone, however, are insufficient to meet
the heightened pleading requirement to allege scienter. Ziemba, 256 F.3d at 1201; In re Recoton
Corp. Securities Litigation, 358 F. Supp. 2d 1130, 1147 (M.D. Fla. 2005).

Moreover, asserted “red flags” that simply reiterate purported GAAS violations or
constitute a recitation of additional GAAS violations are “insufficient to support a strong
inference of scienter.” Cheney v. Cyberguard Corp., No. 98-6879-CIV-GOLD, 2000 WL
1140306 at *11 (S.D. Fla. 2000); In re Spear & Jackson Securities Litigation, 399 F. Supp. 2d
1350, 1363 (S.D. Fla. 2005) (“It is established, however, that the purported red flags cannot
simply ‘re-hash’ the alleged GAAP violations.”). “Red flags” are facts discovered during the
audit process that “would place a reasonable auditor on notice that the audited company was
engaged in wrongdoing to the detriment of its investors.” Jn re Sunterra Corp. Securities
Litigation, 199 F. Supp. 2d 1308, 1333 (M.D. Fla. 2002); accord Nappier v. Pricewaterhouse
Coopers LLP, 227 F. Supp. 2d 263, 278 (D.N.J. 2002) (red flags “must be closer to smoking
guns than mere warning signs”).

Accordingly, most courts require the purported “red flag” to amount to a direct “tip off”
that a serious irregularity, or a fraud, occurred. Ziemba, 256 F.3d at 1194 (dismissing because

“Plaintiffs have not alleged any facts suggesting actual awareness by [the auditor] of any fraud.

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Plaintiffs have pointed to no ‘tips,’ letters, or conversations raising inferences that [the auditor]
knew of any fraud”); Cheney, supra, 2000 WL 1140306 at *12 (plaintiffs “recitation of
additional GAAP violations” without an indication the accounting firm was “tipped off’
insufficient to allege scienter); Holmes v. Baker, 166 F. Supp. 2d 1362, 1380 (S.D. Fla. 2001).

At no point does the Adversary Complaint allege that any BDO Seidman Defendant was
“tipped off” that there was a fraud afoot relating to the Debtor’s annual financial statements.
Moreover, the so-called “red flags” to which the Responsible Officer points are the very “re-
hash” of alleged GAAS violations courts in the Eleventh Circuit have ruled “insufficient to
support a strong inference of scienter.” Cheney, supra, 2000 WL 1140306 at *11; Spear &
Jackson, 399 F. Supp. 2d at 1363.

For example, the Adversary Complaint points to BDO’s “flagrant” decision to classify
the Debtor’ audits as “sensitive” as a so-called “red flag.” (Adv. Comp. {f] 28, 32, 111(e)). The
Responsible Officer’s assertion is silly, as BDO’s actions in following its own procedures is
hardly a “tip” that there was fraud occurring at the Debtor. Indeed, the district court in Cheney,
rejected a virtually identical “red flag’”—-KPMG was “required to give such factors heightened
consideration in planning its audit’—as both “insufficient to support a strong inference of
scienter” and “simply a recitation of additional GAAP violations.” 2000 WL 1140306 at *12.

The Adversary Complaint also points to an alleged failure and refusal to contact
customers and confirm accounts receivable as a “red flag”. (Adv. Comp. § 34, 25, 39-46,
111(b)). Once again, this allegation—even if true—constitutes what the Responsible Officer
himself terms a “derogation of GAAS” insufficient to meet the heightened pleading requirement
to allege scienter. Ziemba, 256 F.3d at 1201. And once again, this so-called “red-flag” has been

rejected as “insufficient” by the district courts in this Circuit. Cheney, supra, 2000 WL 1140306

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at *12 (that “KPMG failed to directly contact CyberGuard’s resellers and make inquiries
regarding the terms of their payment obligations to CyberGuard” was “insufficient”.

The Adversary Complaint also alleges that the BDO Seidman Defendants should have
engaged in “additional testing” due the Debtor’s CFO also being the CEO of a large client.
(Adv. Comp. {ff 30, 31, 111(d)). To the extent that additional such testing was required and the
BDO Seidman Defendants “failed” in this regard, however, may constitute a violation of
auditing standards. Missing from the Responsible Officer’s allegation is how this purported
failure rose to the level of a “tip” that a fraud was occurring at the Debtor. As with the other so-
called “red flags,” the Debtor’s sharing of an officer with one of its clients does not constitute a
strong inference of scienter.

The Adversary Complaint also makes the broad allegation, unsupported by any facts, that
had the BDO Seidman Defendants conducted audits “in accordance with GAAS,” they “would
have detected these irregularities and red flags and expanded [their] audit testing procedures.”
(Adv. Comp. § 28). Such an allegation is also insufficient to support a finding of scienter. As
the District Court in Spear & Jackson held in rejecting the identical assertion as “insufficient” to
meet the heightened scienter pleading requirement, “[nJor may Plaintiffs establish scienter by
alleging that the auditor would have discovered the fraud had it not violated GAAS.” 399 F.
Supp. 2d at 1363.

In sum, the Adversary Complaint fails to set forth with requisite specificity under the
PSLRA the manner in which the BDO Seidman Defendants acted “‘in a severely reckless
manner.” Theoharous, 256 F.3d at 1225, quoting Bryant, 187 F.3d at 1287. As such, the

federal securities claim set forth in Count V of the Adversary Complaint should be dismissed.

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Cc. The Securities Claim Should Be Dismissed Because It Fails To
Allege Injury In Connection With A Purchase Or Sale Of A Security

The federal securities fraud claim also suffers from deficiency of not alleging the
requisite injury “in connection with” the purchase or sale of a security that was the cause of the
alleged injury. Dura Pharmaceuticals, 544 U.S. at 336, 125 S.Ct. at 1631; Blue Chip Stamps v.
Manor Drug Stores, 421 U.S. 723 (1975). When a company issues securities and, in return,
receives money that is then misappropriated by its management, the securities laws recognize
that the potential injury to the company occurs upon the misappropriation, not “in connection
with” the sale of the securities. Thus, such purported claims are not cognizable under the federal
securities laws because they fail the “in connection with” requirement. Allard v. Arthur
Andersen & Co. (USA), 924 F. Supp. 488, 494-95 (S.D.N.Y. 1996); In re Investors Funding
Corp. of New York Secs. Litig., 523 F. Supp. 533 (S.D.N.Y. 1980); Bloor v. Carro, Spanbock,
Londin, Rodman & Fass, 754 F.2d 57, 62 (2d Cir. 1985). See also Rochelle v. Marine Midland
Grace Trust Co. of New York, 535 F.2d 523, 528-29 (9th Cir. 1976) (bankruptcy trustee cannot
sue company’s accountants to recover proceeds of securities offering that later were “frittered
away’).

Here, the core of the Responsible Officer’s federal securities claim is that the Capital
Officers criminally inflated the value of the Debtor’s accounts receivable, and used that value to
induce persons to purchase debenture notes. (Adv. Comp. J 19). After the proceeds from the
debenture notes were delivered to the Debtor, the Capital Officers “funnel[ed] money out of
Bankest,” causing the Debtor’s actual damage. (Adv. Comp. § 87). Because the Debtor’s actual
damage occurred upon the money being funneled out of the Debtor, the Responsible Officer is
unable to establish that the Debtor’s purported injury occurred “in connection with” the sale of

the debenture notes as a matter of law.

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In short, the Adversary Complaint fails to assert a cognizable federal securities claim for

this separate reason, and should therefore be dismissed.

CONCLUSION

For all the foregoing reasons, the Adversary Complaint should be dismissed in its

entirety.

1 HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

Dated April 10, 2006.

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CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing was served by U.S. mail,

postage prepaid upon all parties on the attached Service List, this 10 day of April, 2006.

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JOHN B. HUTTON

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